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       1.      Your affiant, Thadeaus Caldwell, is a Special Agent with the Federal Bureau of

Investigation (FBI) and has been so employed since May 2018. As an FBI Special Agent I have

received extensive training in a variety of investigative of federal and state law. As such, I am an

officer of the United States who is empowered by law to conduct investigations of and to make

arrests for offenses enumerated in Titles 18 and 21 of the United States Code. During my

employment with the FBI, I have participated in various violent crime investigations. These

investigations have given me experience in preparing and assisting in the preparation of court

orders and search warrant applications. Additionally, during the course of these and other

investigations, I have also conducted or participated in physical and electronic surveillance,

assisted in the execution of search and arrest warrants, debriefed informants, interviewed witnesses

and suspects, and reviewed other pertinent records. In addition to my regular duties, I am currently

also tasked with investigating criminal activity that occurred in and around the Capitol grounds on

January 6, 2021.

       2.      I submit this offense solely for the purpose of establishing probable cause to believe

that Ronald LOEHRKE and James HAFFNER and committed violations of 18 U.S.C. §§ 231(a)(3)

and 1752(a)(1) and (2), and 40 U.S.C. § 5104(e)(2)(D) and (F) on or about January 6, 2021, and

that HAFFNER committed an additional violation of 18 U.S.C. § 111(a) on that date. It does not

contain all facts known to law enforcement or to me regarding this investigation.

                           BACKGROUND ABOUT THE U.S. CAPITOL

       3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
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inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.
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       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       8.      During national news coverage of the aforementioned events, video footage,

including that captured on mobile devices of persons present on the scene, depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.


                 LOEHRKE AND HAFFNER’S PARTICIPATION IN THE
                       JANUARY 6 RIOT AT THE CAPITOL

       9.      LOEHRKE was born in 1991, and as of January 6, 2021, resided near Seattle,

Washington. LOEHRKE has since moved to the Atlanta, Georgia area.

       10.     HAFFNER was born in 1968, and as of January 6, 2021, resided near Seattle,

Washington. HAFFNER has since moved to the Sturgis, South Dakota area.

       11.     Pursuant to legal process, law enforcement searched the contents of Ethan

Nordean’s mobile device, including communications with other individuals who were involved in

the events of January 6, 2021.1 The data revealed that on or about January 5, 2021, Nordean placed

one call to number XXX-XXX-7221, which is listed in Nordean’s contacts as “Ron (Lisa Friend).”

Subsequent records obtained from the mobile phone provider for that number established that it is

registered to LOEHRKE.


1
       Ethan Nordean is charged in connection with the events of January 6, 2021, in the District
of Columbia in Case No. 21-cr-175 (TJK).
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         12.    Text-message communications between Nordean and LOEHRKE, using XXX-

XXX-7221 and recovered from Nordean’s phone, revealed that on or about December 27, 2020,

Nordean asked LOEHRKE if LOEHRKE was coming to “DC.” After LOEHRKE answered in the

affirmative, on or about December 29, 2020, Nordean told LOEHRKE, that he wanted LOEHRKE

“on the front line” with him. LOEHRKE responded with, “Sounds good man,” and indicated that

he was bringing three “Bad mother fuckers [sic]” with him.

         13.    Records provided by a U.S. cell phone provider showed that LOEHRKE’s number,

XXX-XXX-7221, was in contact with XXX-XXX-9835 a total of 106 times, including on nine

occasions between December 19, 2020, and January 7, 2021. XXX-XXX-9835 is registered to

HAFFNER’s wife, and it was provided as a contact number for HAFFNER (but not his wife),

according to information provided by a U.S. bank at which HAFFNER and his wife jointly hold a

checking account.

         14.    In the morning of January 6, 2021, LOEHRKE met up with other individuals at the

Washington Monument. He is depicted in the Images 1 and 2 below, circled in yellow in a

distinctive plaid jacket, with a maroon hoodie underneath, and a white, and light blue baseball cap

bearing a distinctive “Cummins Oil” logo.2 For the reasons detailed in the identification section

below, I submit that there is probable cause to believe that the individual depicted below and in

this distinctive clothing in and around the Capitol on January 6, 2021, is LOEHRKE.




2
         Throughout this affidavit, LOEHRKE is circled in yellow and HAFFNER is circled in
green.
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                                   Identification of LOEHRKE

      31.    Law Enforcement has spoken to an individual (“W-1” for purposes of this affidavit)

who has known LOEHRKE for years, although W-1 last had contact with LOEHRKE more than

five years ago. W-1 was shown photographs, including the images below labeled as Images 26,

27, and 28. W-1 stated that Image 26 was LOEHRKE, and that Images 27 and 28 (the latter of

which is from January 6, 2021) looked like LOEHRKE.




                                         Image 26




                Image 27                                           Image 28
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        32.     Your affiant is aware of a video taken outside of a hotel in downtown Washington,

D.C. on or about January 5, 2021, which depicts an individual matching the known photographs

of LOEHRKE, who was wearing a hat and neck gaiter that appear identical to those LOEHRKE

was photographed in on January 6, 2021. Those photographs show hand tattoos that appear to be

identical to those depicted in Images 14 and 15 above, particularly the word “stay” on

LOEHKRE’s right knuckles and the outline of a rose on the top of his hand. Images from the

January 5 video, showing the tattoos as they appeared that day are below, Image 29.4




                                              Image 29

        33.     Your affiant has also reviewed records obtained from a U.S. Airline, which

establish that LOEHRKE flew from Seattle, Washington to the Washington, D.C. area on January

4, 2021, returning to Seattle on January 7, 2021. I am aware that commercial airlines require airline

tickets to be issued in true name and date of birth of the traveler, that the traveler present valid

identification, and that the traveler match the identifying details on the identification/ticket. 5


4
       W-1 stated to law enforcement that at the time W-1 knew LOEHRKE, LOEHRKE did not
have any tattoos.
5
       Your affiant is aware that the FBI received information in April 2021, in which a source
opined that the individual wearing the plaid jacket, maroon hoodie, and Cummins Oil hat on
January 6, 2021, was someone other than LOEHRKE (“Person 1”). The source does not personally
know either LOEHRKE or Person 1. The source made his/her assessment based on comparing
photographs of LOEHRKE from January 6, 2021, where only his nose and sunglasses are visible
above his mask, with publicly available photographs of Person 1. The source opined that Person
1 and the photographs of LOEHRKE from January 6 possessed a similar-looking nose and
sunglasses.
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                                   Identification of HAFFNER

       34.     According to records provided by a U.S. airline, HAFFNER traveled from Seattle,

Washington to Washington-Reagan National Airport, via JFK Airport in New York, on January 5,

2021. He then returned from National Airport to Seattle, via Los Angeles International Airport,

on January 7, 2021. I am aware that commercial airlines require airline tickets to be issued in true

name and date of birth of the traveler, that the traveler present valid identification, and that the

traveler match the identifying details on the identification/ticket.

       35.     According to information provided by a U.S. bank, a checking account jointly held

by HAFFNER and his wife had a transaction with the U.S. airline mentioned in the previous

paragraph, in the amount of $911.60 on December 29, 2021, and with an online reservation service

on December 30, 2021. According to records provided by the online reservation service, a

reservation was made in the name of JAMES HAFFNER at a hotel in downtown, Washington,

D.C., checking in on January 5, 2021, and leaving on January 7, 2021. According to information

provided by that hotel, an individual named JAMES HAFFNER in fact stayed there on those dates.

       36.     According to information provided by the same U.S. bank mentioned in the

previous paragraph, an account solely held by HAFFNER used for transactions at the hotel in

downtown Washington, D.C. where HAFFNER stayed from January 5-7, 2021, along with at an

ATM a few blocks away from there, on January 5, 2021. The same account was used in

transactions at Washington-Reagan National and Los Angeles International Airports on January

7, 2021.

       37.     Your affiant has reviewed HAFFNER’s South Dakota driver’s license photograph,

which was taken shortly after January 6, 2021. That photograph appears to depict the same
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                                                  Respectfully,




                                                  Federal Bureau of Investigation



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41 (d)(3) on November 30, 2021

                                 Robin M. Meriweather
                                 2021.11.30 09:59:08
                                 -05'00'
       ROBIN M. MERIWEATHER
       UNITED STATES MAGISTRATE JUDGE
